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                                                    Dey's Medicare-Only Witness List
                                                                                                                  Date of Designation (if
                          Last Known Address/Phone #                          Intent to Call in Medicare-Only     Witness May be Called by
Name                      (if witness may be called live)   Affiliation       Trial                               Deposition)
                          3453 Newark Street NW,                              Listed as May Call by the DOJ; if
                          Washington, D.C. 20016                              not, Dey Will Call by Deposition
Berenson, Robert          202-686-2727                      CMS               Designations                        12/18/2007
                          8024 Ridgely Oak Road                               Listed as May Call by the DOJ; if
                          Baltimore, MD                                       not, Dey May Call by Deposition
Booth, Charles            410-668-2048                      CMS               Designations                        4/23/2007, 10/29/2007

Bowen, Marianne                                             CMS               May Call by Deposition Designations 6/5/2007
                          201C Baldwin Hall
                          Department of Public
                          Administration & Policy
                          University of Georgia
                          Athens, GA 30602
Bradford, W. David, Ph.D. 706-542-2731                      Expert            Will Call Live
                          120 Canyon Drive                                    Listed as May Call by the DOJ; if
                          Napa, CA 94558                                      not, Dey May Call by Deposition
Bronstein, Debra          707-224-1153                      Dey               Designations                        3/11/2003

Bryant, Joseph                                              CMS               May Call by Deposition Designations 11/15/2007
                          7500 Security Boulevard                             Listed as May Call by the DOJ; if
                          Baltimore, MD 21244                                 not, Dey May Call by Deposition
Buto, Kathleen,           410-786-3000                      CMS               Designations                        9/12/20007, 9/13/2007
                          48 Hickory Bend Drive                               Listed as May Call by the DOJ; if
                          Cabot, AR 72023                                     not, Dey May Call by Deposition
Chesser, Paul             501-225-8114                      OIG               Designations                        6/24/2008, 10/28/2008
                          3426 Duck Avenue                                    Listed as May Call by the DOJ; if
                          Key West, FL 33040                                  not, Dey May Call Live or by
Cobo, Luis                305-292-1635                      Ven-A-Care        Deposition Designations             1/18/2008, 7/31/2008

Cottrell, Danny                                             Pharmacist        May Call by Deposition Designations 8/30/2007

Decker, Christopher                                         Pharmacist        May Call by Deposition Designations 12/11/2006



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                                             Dey's Medicare-Only Witness List
                                                                                                                 Date of Designation (if
                     Last Known Address/Phone #                             Intent to Call in Medicare-Only      Witness May be Called by
Name                 (if witness may be called live)   Affiliation          Trial                                Deposition)
                                                                            Listed as Expect to Call by the DOJ;
                                                       State Medicaid:      if not, Dey Will Call by Deposition
Denemark, Cynthia                                      Delaware             Designations                         12/09/2008, 12/10/2008
                     4229 Leland Street                                     Listed as May Call by the DOJ; if
                     Chevy Chase, MD 20815                                  not, Dey May Call by Deposition
DeParle, Nancy Ann   301-656-4104                      CMS                  Designations                         5/18/2007, 12/5/2007
                     2 Peachtree Street
                     Atlanta, GA 30303                 State Medicaid:      Will Call Live or by Deposition
Dubberly, Jerry      404-656-4507                      Georgia              Designations                        12/15/2008
                     7500 Security Boulevard                                Listed as May Call by the DOJ; if
                     Baltimore, MD 21244                                    not, Dey May Call by Deposition     2/27/2008, 3/26/2008,
Duzor, Deidre        410-786-3000                      CMS                  Designations                        10/30/2007
                     4150 Iowa Street
                     Indianapolis, Indiana, 46203                         Will Call Live or by Deposition       8/26/2008, 8/27/2008,
Eiler, Cheryl        317-356-5998                      DMERC (Administar) Designations                          8/28/2008, 9/23/2008
                     782 Tim Tam Avenue
                     Gahanna, OH 43230                 Wholesaler
Erick, Matthew       614-855-0819                      (Cardinal)           May Call by Deposition Designations 6/17/2008, 6/27/2008
                     460 Silver Hollow Drive
                     Walnut Creek, CA 94598            Wholesaler
Factor, Saul         925-947-2680                      (McKesson)           May Call by Deposition Designations 6/20/2008, 9/4/2008
                     4267 Kingsford Drive                                   Listed as Expect to Call by the DOJ;
                     Napa, CA 94558                                         if not, Dey May Call Live or by
Galles, Todd         707-255-2565                      Dey                  Deposition Designations              2/28/2006, 3/1/2006
                     7500 Security Boulevard                                Listed as May Call by the DOJ; if
                     Baltimore, MD 21244                                    not, Dey May Call Live or by
Gaston, Sue          410-786-3000                      CMS                  Deposition Designations              1/24/2008, 3/19/2008
                     819 Garfield Drive
                     Petaluma, CA 94954
Gmeiner, Eve         707-766-1729                      Dey                  May Call by Deposition Designations 1/20/2003
                     2300 W. White Oaks Drive
                     Springfield, IL 62704             State Medicaid:
Gottrich, Ron        217-698-5938                      Illinois             May Call Live




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                                               Dey's Medicare-Only Witness List
                                                                                                                 Date of Designation (if
                        Last Known Address/Phone #                           Intent to Call in Medicare-Only     Witness May be Called by
Name                    (if witness may be called live)   Affiliation        Trial                               Deposition)

Grossman, Steven                                          Pharmacist         May Call by Deposition Designations 10/24/2007
                        960 Water Grove Court
                        Roswell, GA 30075                                    May Call Live or by Deposition
Gurchiek, Christopher   678-297-2070                      Dey                Designations                        5/3/2002
                        7500 Security Boulevard                              Listed as May Call by the DOJ; if
                        Baltimore, MD 21244                                  not, Dey May Call by Deposition
Gustafson, Thomas       410-786-3000                      CMS                Designations                        9/28/2007, 12/17/2007
                        14400 Tomahawk Creek Parkway
                        Leawood, KS 66211                                    May Call Live or by Deposition
Hansen, Allan Tracy     913-938-4711                      Myers & Stauffer   Designations                        12/10/2008, 12/11/2008
                        American Enterprise Institute
                        1150 17th St., N.W.
                        Washington, D.C. 20036
Helms, Robert, Ph.D.    202-862-5877                      Expert             Will Call Live
                        2 Vantage Way                                        Listed as Expect to Call by the DOJ;
                        Nashville, TN 37228                                  if not, Dey will Call Live or by
Helton, Carolyn         615-782-4500                      DMERC (CIGNA)      Deposition Designations              3/13/2008, 10/16/2009
                        10014 Fox Den Road
                        Ellicott City, MD 21042
Jackson, Milton         410-465-6003                      OIG                May Call by Deposition Designations 12/12/2008
                        540 S Almond Street
                        Dixon, CA 95620
Johnston, Russell       916-678-3467                      Dey                Will Call Live
                        3426 Duck Avenue                                     Listed as May Call by the DOJ; if
                        Key West, FL 33040                                   not, Dey May Call Live or by
Jones, Mark             305-292-1635                      Ven-A-Care         Deposition Designations             12/8/2008, 12/9/2008
                        3185 Sonoma Valley Drive
                        Fairfield, CA 94534
Marrs, Pamela           707-429-5991                      Dey                Will Call Live

Maxwell, Ann                                              CMS                Will Call by Deposition Designations 6/10/2009
                                                          State Medicaid:                                         01/13/2009, 01/14/2009,
McNeill, Martha                                           Texas              May Call by Deposition Designations 02/08/2007


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                                                  Dey's Medicare-Only Witness List
                                                                                                                     Date of Designation (if
                           Last Known Address/Phone #                            Intent to Call in Medicare-Only     Witness May be Called by
Name                       (if witness may be called live)   Affiliation         Trial                               Deposition)
                           10519 Oakmoor Lane
                           Parker, CO 80134                  Compendia
Minne, Kristen             303-805-1665                      (RedBook)           May Call by Deposition Designations 11/18/2008, 11/19/2008
                           330 Independence Avenue, SW
                           Room 5660
                           Washington, D.C. 20201
Molyneaux, Nancy           202-619-0480                      OIG                 May Call by Deposition Designations 1/11/2007
                           700 South Harbour Island Blvd.
                           Tampa, Florida 33602                                  Will Call Live or by Deposition     1/11/2005, 8/27/2007,
Morgan, Patricia Kay       813-929-3615                      First DataBank      Designations                        11/30/2007
                           774 Exchange Mill Place
                           Dacula, GA 30019
Morris, Richard            770-338-2750                      CMS                 May Call by Deposition Designations 8/29/2007
                           901 Timber Run Road
                           Reisterstown, MD 21136                                Will Call Live or by Deposition     9/14/2007, 10/11/2007,
Niemann, Robert            410-833-0766                      CMS                 Designations                        11/19/2009
                           2721 Laurel Street
                           Napa, CA 94558
Oberting, Joseph           707-256-3686                      Dey                 May Call Live
                           330 Independence Avenue, SW
                           Room 5660                                             Listed as Expect to Call by the DOJ;
                           Washington, D.C. 20201                                if not, Dey May Call Live or by
Ragone, Linda              202-619-0480                      OIG                 Deposition Designations              4/17/2007, 4/18/2007
                           11729 Crest Maple Drive
                           Lake Ridge, VA 22192                                  Will Call Live or by Deposition
Rector, John               703-878-2626                      NCPA                Designations                        7/28/2009
                           4000 Metropolitan Drive
                           Orange, CA 92868                  Wholesaler
Reed, Charles Joseph III   916-363-8406                      (Amerisourcebergen) May Call by Deposition Designations 8/28/2007
                                                             Wholesaler
Reich, Ron                                                   (Cardinal)          May Call by Deposition Designations 6/7/2007




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                                               Dey's Medicare-Only Witness List
                                                                                                                  Date of Designation (if
                        Last Known Address/Phone #                            Intent to Call in Medicare-Only     Witness May be Called by
Name                    (if witness may be called live)   Affiliation         Trial                               Deposition)
                        c/o Jean M. Geoppinger
                         Waite, Schneider, Bayless &
                        Chesley
                         1513 Fourth & Vine Tower
                         1 West Fourth Street
                        Cincinnati, OH 45202
Reid, Robert                                              State Medicaid: Ohio May Call by Deposition Designations 12/15/2008
                        429 N. Mosley Road
                        Creve Coeur, MO 63141
Rice, Charles           314-997-7906                      Dey                 May Call Live
                        7500 Security Boulevard
                        Baltimore, MD 21244                                   Will Call Live or by Deposition
Richter, Elizabeth      410-786-3000                      CMS                 Designations                        12/7/2007

Robey, Victoria                                           CMS                 May Call by Deposition Designations 3/20/2007
                        1801 Edgehill Drive                                   Listed as May Call by the DOJ; if
                        Alexandria, VA 22307                                  not, Will Call Live or by Deposition
Scully, Thomas          703-683-3429                      CMS                 Designations                         5/15/2007, 7/13/2007
                                                                              Listed as Expect to Call by the DOJ;
                                                                              if not, Dey May Call by Deposition
Selenati, Helen                                           Dey                 Designations                         05/04/2005, 05/05/2005
                        330 Independence Avenue, SW
                        Room 5660
                        Washington, D.C. 20201
Sernyak, Amy            202-619-0480                      OIG                 May Call by Deposition Designations 3/6/2007
                        50 Main St.
                        White Plains, NY 10606
Stiroh, Lauren, Ph.D.   914-448-4000                      Expert              May Call Live
                        190 Parkridge Drive, Suite 108                        Listed as Expect to Call by the DOJ;
                        Columbia, SC 29212                                    if not, Dey will Call Live or by     02/28/2008, 02/29/2008,
Stone, Robin            803-407-4950                      DMERC (Palmetto)    Deposition Designations              10/14/2009
                        1850 Memorial Blvd., Suite 202
                        Murfreesboro, TN                  State Medicaid:     Will Call Live or by Deposition
Sullivan, Leo           615-896-3876                      Tennessee           Designations                        3/12/2008


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                                           Dey's Medicare-Only Witness List
                                                                                                                   Date of Designation (if
                    Last Known Address/Phone #                              Intent to Call in Medicare-Only        Witness May be Called by
Name                (if witness may be called live)     Affiliation         Trial                                  Deposition)
                    330 Independence Avenue, SW
                    Room 5660
                    Washington, D.C. 20201                                  Will Call Live or by Deposition        04/24/2007, 04/25/2007,
Tawes, David        202-619-0480                        OIG                 Designations                           12/02/2008, 12/13/2007

                                                        Wholesaler
Teringer, Kate                                          (Amerisourcebergen) May Call by Deposition Designations 4/4/2007
                                                        State Medicaid:
Terrebonne, Mary                                        Louisiana           May Call by Deposition Designations 11/7/2008
                                                                            Listed as Expect to Call by the DOJ;
                                                                            if not, May Call by Deposition
Thompson, Francis                                       CMS                 Designations                         9/30/2008

Tipton, Bruce                                           Dey                 May Call by Deposition Designations 3/21/2006
                    330 Independence Avenue, SW
                    Room 5660                                               Listed as May Call by the DOJ; if      02/05/2008, 02/06/2008,
                    Washington, D.C. 20201                                  not, May Call by Deposition            06/19/2007, 06/20/2007,
Vito, Robert        202-619-0480                        OIG                 Designations                           12/02/2008
                    65 Bergen Street, Suite 1535                            Listed as May Call by the DOJ; if
                    Newark, NJ 07101                                        not, Will Call Live or by Deposition
Vladeck, Bruce       212-971-7243                       CMS                 Designations                           05/04/2007, 06/21/2007
                    2933 Laurel Street
                    Napa, CA 94558
Walker, Gary        707-224-3200                        Dey                 May Call Live
                    2829 University Avenue Southeast,
                    Suite 530                           State Medicaid:
Wiberg, Cody        Minneapolis, MN 55414               Minnesota           May Call by Deposition Designations 3/14/2008




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